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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  NETLIST, INC.,                            )
                                            )
              Plaintiff,                    )
                                                  Case No. 2:22-cv-293-JRG
                                            )
        vs.                                 )
                                                  JURY TRIAL DEMANDED
                                            )
                                                  (Lead Case)
  SAMSUNG ELECTRONICS CO, LTD;              )
  SAMSUNG ELECTRONICS AMERICA,              )
  INC.; SAMSUNG SEMICONDUCTOR               )
  INC.,                                     )
                                            )
              Defendants.                   )

  NETLIST, INC.,                            )
                                            )
              Plaintiff,                    )
                                            )
                                                  Case No. 2:22-cv-294-JRG
        vs.                                 )
                                            )
                                                  JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.;                  )
  MICRON SEMICONDUCTOR                      )
  PRODUCTS, INC.                            )
                                            )
              Defendants.                   )
                                            )


      PLAINTIFF NETLIST INC.’S OPPOSITION TO SAMSUNG’S MOTION FOR
                 PARTIAL SUMMARY JUDGMENT REGARDING
               ITS ABSOLUTE INTERVENING RIGHTS DEFENSE
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 I.        INTRODUCTION

           Samsung seeks summary judgment that all asserted claims of the ’912 patent except for claim

 16 are subject to absolute intervening rights based on amendments to the claims during the

 reexamination of the ’912 patent. Dkt. 81 at 1. Samsung is not entitled to summary judgment of

 intervening rights for the original claims of the ’912 patent amended during reexamination: 1, 3, 4, 6,

 8, 10, 11, 15, 18, 19, 20, 22, 24, 27-29, 31, 32, 34, 36-39, 40, 41, 43, 45-47 and 50 (the “Amended

 Claims”). These claims were also at issue in Netlist Inc. v. Google LLC, Case No. 4:09-cv-5718 (N.D.

 Cal.). The N.D. Cal. Court held that the Amended Claims are subject to intervening rights. Dkt. 81-

 08 at 44. However, the N.D. Cal. Court gave undue weight to the fact that the claims were amended

 to overcome the prior art, and did not consider Samsung’s IPR arguments in a co-pending IPR

 involving the ’912 patent, which shed light on the interpretation of terms in the original claims.1 Under

 a proper interpretation of the original claims, Samsung is not entitled to intervening rights with respect

 to these claims because the Amended Claims are “substantially identical” in scope to the original

 claims.

 II.       RESPONSE TO STATEMENT OF THE ISSUE

           Whether Samsung’s intervening rights defense fails as a matter of law because it has failed to

 demonstrate that the claims have substantively changed in scope under the Phillips standard.

 III.      RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS

           1, 11, 13-15. Undisputed.

           2-10, 12. Disputed. Netlist disputes Samsung’s characterization of Netlist’s statements and

 amendments during reexamination. Netlist amended the original claims to clarify the meaning of claim

 limitations related to three components of the claimed memory module: the phase-lock loop (“PLL”)



 1
  IPR2022-00615 involves claim 16 of the ’912 patent, which the N.D. Cal. Court held was not subject
 to intervening rights. Dkt. 81-08 at 44.


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 device, the register, and the logic element. Dkt. 81-01, at 48-49. These amendments were made to

 better define the claims and avoid what Netlist believed were overly broad constructions of the claims

 by the USPTO, which employed the expansive BRI standard throughout the reexamination. See Ex. 5

 at 14-16. The amendments did not affect a substantive change. See Section IV.B.

         16-17. Disputed. Netlist’s November 17, 2022 preliminary infringement contentions (“PICs”)

 asserted the Amended Claims against DDR2 FBDIMMs, DDR3 LRDIMMs and other DDR2/DDR3

 products that “utilize on-module logic to perform rank multiplication.” Dkt. 81-06 at 5. Netlist

 accused DDR3 RDIMMs in this latter category of products. Id. Yet,




                                                                                                Samsung’s

 identification of products it contends are subject to intervening rights is deficient. See Section V.C.

 IV.     LEGAL STANDARD

         Absolute intervening rights preclude liability for products that were purchased or used prior

 to the conclusion of reexamination. 35 U.S.C. § 252; pre-AIA § 316(b). The accused infringer must

 show that the amended claims are not “substantially identical” to the original claims for intervening

 rights to apply. 35 U.S.C. § 252.2 “Identical” means “at most without substantive change.” Bloom Eng’g

 Co. v. N. Am. Mfg. Co., 129 F.3d 1247, 1250 (Fed. Cir. 1997). In determining whether an amendment

 is a substantive change, “[i]t is the scope of the claim that must be identical, not that identical words

 must be used.” Convolve, Inc. v. Compaq Comput. Corp., 812 F.3d 1313, 1322 (Fed. Cir. 2016).




 2
  The Federal Circuit holds that intervening rights apply to amendments during reexamination even if
 the scope of the claims are narrowed. Laitram Corp. v. NEC Corp., 163 F.3d 1342, 1349 (Fed. Cir.
 1998). Netlist believes that this decision is inconsistent with the statutory language, but recognizes that
 this is an issue for the Federal Circuit. For the purposes of this motion, Netlist will apply Laitram.


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 V.      ARGUMENT

         A.      Netlist is Not Judicially Estopped from Contesting Intervening Rights

         Samsung contends that Netlist is estopped from contesting intervening rights based on the

 USPTO’s determination during the reexamination of the ’912 patent that the Amended Claims were

 patentable. Dkt. 81 at 6-8. At least “[t]wo elements are necessary for judicial estoppel: (1) the estopped

 party’s position must be ‘clearly inconsistent with its previous one,’ and (2) ‘that party must have

 convinced the court to accept that previous position.’” Owens v. W. & S. Life Ins. Co., 717 F. App’x

 412, 417 (5th Cir. 2018) (citation omitted). Neither element is met here.

         During reexamination, Netlist amended original independent claims 1, 15, 28, and 39 of the

 ’912 patent. Dkt. 81-02 at 1:25-3:8, 3:44-5:25. Each of the independent claims originally recited a

 memory module comprising a “phase-lock loop device,” (“PLL”) a “register” and a “logic element”

 with certain specific operations. Id. The Examiner and Board applied the BRI standard throughout

 the reexamination. See, e.g., Ex. 5 at 14-16 (Board affirming Examiner’s broad construction of “logic

 element” under the BRI standard). Netlist amended these claims to add limitations clarifying the

 operation of the PLL, register, and logic element. See Dkt. 81-01 at 47-49.

         Samsung argues that judicial estoppel should apply because it would be inconsistent for Netlist

 to argue that there have been no substantive changes to the original claims based on Netlist’s

 statements to the USPTO and Federal Circuit that it “narrowed” its claims. Dkt. 81 at 6-8. Samsung

 ignores that these statements were made in reexamination, where the BRI standard applies. The BRI

 standard requires the USPTO to select the broadest of multiple reasonable interpretations in light of

 the specification. Google LLC v. Network-1 Techs., Inc., 726 F. App’x 779, 785 (Fed. Cir. 2018) (“[U]nder

 the broadest reasonable construction standard, where two claim constructions are reasonable, the

 broader construction governs.”). By contrast, the Federal Circuit has made clear that “[i]n the

 intervening rights analysis, [a court’s] task is to interpret the scope of the claims per the Phillips



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 standard.” Convolve, 812 F.3d at 1325 (reversing district court’s intervening rights finding, noting “[t]o

 the extent that the district court adopted [the Examiner’s] reasoning wholesale without accounting for

 the differences between the broadest reasonable interpretation standard and Phillips, the court erred”).

         Courts have declined to find positions inconsistent for purposes of judicial estoppel where

 those positions implicate different claim construction standards. For example, in Research Frontiers, the

 court declined to estop E Ink from advancing constructions that were different from those it had

 previously advanced during IPR, finding it was not inconsistent to advocate for one construction

 under the BRI standard and another under Phillips. Rsch. Frontiers, Inc. v. E Ink Corp., 2016 WL 1169580,

 at *3, n.4 (D. Del. Mar. 24, 2016), report and recommendation adopted, 2016 WL 7217217 (D. Del. Dec. 13,

 2016), aff'd, 706 F. App’x 685 (Fed. Cir. 2017). The court reasoned that “E Ink could reasonably—

 and not inconsistently—have argued that the constructions it proposed during the IPR proceeding

 amounted to the ‘broadest reasonable interpretation’ that the terms could support, and nevertheless

 now argue that, when taking into account guidance from cases like Phillips, the Court should adopt a

 different, narrower construction for the same terms.” Id.; see also Mike’s Train House, Inc. v. Broadway

 Ltd. Imports, LLC, 2012 WL 664498, at *22 (D. Md. Feb. 27, 2012) (inconsistency prong of judicial

 estoppel was not met where “Defendants’ argument to the PTO … that the broadest reasonable

 interpretation of speed command covered functions disclosed in the prior art” was not “inconsistent

 with Defendants’ argument at summary judgment that the accused trains do not accept speed

 commands under the more narrow construction that the parties have applied in this case.”), aff'd, 500

 F. App’x 958 (Fed. Cir. 2013). In the analogous context of collateral estoppel, the Federal Circuit has

 also relied on the difference between the BRI and Phillips standards to find that the issue of claim

 construction had not actually been litigated. SkyHawke Techs., LLC v. Deca Int'l Corp., 828 F.3d 1373,

 1376 (Fed. Cir. 2016) (“Because the Board applies the broadest reasonable construction of the claims

 while the district courts apply a different standard of claim construction as explored in [Phillips], the



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 issue of claim construction under Phillips to be determined by the district court has not been actually

 litigated.”).

          To be sure, Netlist stated in remarks accompanying the amendments and in its Federal Circuit

 brief that Netlist had “narrowed” the claims to include the PLL, register, and logic element

 amendments. Dkt. 81-01 at 51; Dkt. 81-05. This narrowing was from the BRI interpretation of the

 claim, whereas intervening rights requires an analysis of the scope of the amended claims vis-à-vis the

 original claims under the Phillips standard. Convolve, 812 F.3d at 1325. As the Federal Circuit instructed

 in Convolve, the absolute intervening rights inquiry “must focus on a case-by-case analysis of the scope

 of the claims before and after claim amendment.” Id. at 1325. Indeed, the Federal Circuit declined to

 give significant weight to the patentee’s and examiner’s use of the term “clarify” or “clarifying,”

 focusing instead on construing the original claims in light of the Phillips standard. Id. Given the fact-

 specific nature of this inquiry and the different claim construction standard it requires, Samsung’s bid

 to short-circuit the analysis through judicial estoppel should be rejected.

          As another independent reason for rejecting Samsung’s judicial estoppel argument, there is no

 evidence that the Federal Circuit or PTAB relied on Netlist’s statements to affirm the validity of the

 Amended Claims. The Federal Circuit issued a one-line order summarily affirming the PTAB. See

 Google LLC v. Netlist, Inc., 810 F. App’x 902 (Fed. Cir. 2020). Similarly, the PTAB’s decision affirming

 the validity of the Amended Claims makes no mention of Netlist’s “narrowing” remarks. See Dkt. 81-

 04. And where the PTAB cited to Dr. Sechen’s statements regarding the “narrower claim[s],” it noted

 that Dr. Sechen’s comments were “confusing.” Id. at 19.

          B.     The Amended Claims are “Substantially Identical” to the Original Claims
          under the Phillips Standard

          Original independent claim 1 is representative of the original independent claims, which

 recited a “PLL,” “register,” and “logic element” as emphasized below.




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        1. A memory module connectable to a computer system, the memory module
        comprising:

        a printed circuit board;

        a plurality of double-data-rate (DDR) memory devices mounted to the printed circuit
        board, the plurality of DDR memory devices having a first number of DDR memory
        devices arranged in a first number of ranks;

        a circuit mounted to the printed circuit board, the circuit comprising a logic element
        and a register, the logic element receiving a set of input control signals from the
        computer system, the set of input control signals comprising at least one row/column
        address signal, bank address signals, and at least one chip-select signal, the set of input
        control signals corresponding to a second number of DDR memory devices arranged
        in a second number of ranks, the second number of DDR memory devices smaller
        than the first number of DDR memory devices and the second number of ranks less
        than the first number of ranks, the circuit generating a set of output control signals in
        response to the set of input control signals, the set of output control signals
        corresponding to the first number of DDR memory devices arranged in the first
        number of ranks, wherein the circuit further responds to a first command signal and
        the set of input control signals from the computer system by generating and
        transmitting a second command signal and the set of output control signals to the
        plurality of memory devices, the first command signal and the set of input control
        signals corresponding to the second number of ranks and the second command signal
        and the set of output control signals corresponding to the first number of ranks; and

        a phase-lock loop device mounted to the printed circuit board, the phase-lock loop
        device operatively coupled to the plurality of DDR memory devices, the logic
        element, and the register.

Ex. 1 (’912 patent), 32:59-33:27. In its July 31, 2016 amendment, Netlist amended the claims to include

additional language regarding the “PLL,” “register,” and “logic element.” Dkt. 81-01 at 48-49. These

amendments did not substantively change the scope of the claims:

                1.      The “PLL” Amendment

        Netlist added the following language regarding the operation of the PLL device: “wherein, in

response to signals received from the computer system, the phase-lock loop (PLL) device transmits a

PLL clock signal to the plurality of DDR memory devices, the logic element, and the register.” Dkt.

81-01 at 48. The original claims required the PLL device be “operatively coupled to the plurality of

DDR memory devices, the logic element, and the register.” See, e.g., Ex. 1 (’912 patent), 33:24-27 (claim




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1), 34:53-57 (claim 15); see also 36:2-4 (claim 28); 36:49-53 (claim 39: “operationally coupled”). The

specification teaches that the PLL is the source of clock signals for each of these components. Id.,

5:28-31 (“In response to signals received from the computer system, the phase-lock loop device 50

transmits clock signals to the plurality of memory devices 30, the logic element 40, and the

register 60.”) (emphasis added); see also Figs. 1A-1B (output of PLL (50) is directly coupled to logic

element (40), register (60), and plurality of DDR memory devices (30)).

        Samsung argues that the PLL amendment affected a substantive change because “[t]he original

claims did not require the PLL transmit any specific signal to the logic element.” Dkt. 81 at 9.

However, in IPR2022-00615 involving claim 16 of the ’912 patent, Samsung claims that a POSITA

would understand that a logic element that generates chip-select signals would need to be in sync with

clock signals received from the PLL. Ex. 3 (Samsung IPR Pet.) at 61 (“[A] POSITA would have

understood that a logic element that generates chip-select signals for the memory devices must be

in sync with the other signals, including the clock signal, received by the memory devices

from the PLL.”) (emphasis added). The original claims required a “circuit” comprising a “logic

element” that receives a set of input control signals, including a “chip-select signal,” and that the circuit

“generat[e] a set of output control signals in response to the set of input control signals.” E.g., Ex. 1

(’912 patent), 32:66-33:12 (claim 1); see also 34:33-45 (claim 15); 35:45-57 (claim 28); 36:49-53, 36:62-

66 (claim 39: “the plurality of output signals comprising . . . the first number of chip-select signals”).

As indicated throughout the specification, the logic element generates chip-select signals for the

memory devices. See, e.g., id., 7:35-8:64; Fig. 1A-1B (depicting logic element 40 as receiving and

transmitting chip-select (CS) signals to SDRAMs). Thus, under Samsung’s view in IPR, a POSITA

would have understood that the logic element as originally claimed received a clock signal from the

PLL.




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                2.      The “register” Amendment

        Netlist also amended the claims to add the “register” limitation below:

        wherein the register (i) receives, from the computer system, and (ii) buffers, in
        response to the PLL clock signal, a plurality of row/column address signals and the
        bank address signals, and (iii) transmits the buffered plurality of row/column address
        signals and the buffered bank address signals to the plurality of DDR memory devices,
        wherein the at least one row/column address signal received by the logic element
        comprises at least one row address signal received by the logic element, and wherein
        the plurality of row/column address signals received by the register are separate from
        the at least one row address signal received by the logic element.

Dkt. 81-01 at 48.

        Samsung first argues that the requirement that the register receive, buffer, and transmit specific

signals affected a substantive change. Dkt. 81 at 9. However, prior to reexamination, Netlist and

Google had agreed that the term “register” means “a circuit component or components that receive,

buffer, and transmit signals.” Dkt. 81-09 at 8 (emphasis added). The original claims recited a

“circuit,” comprising a “logic element” and a “register,” which responds to a “command signal” and

“input control signals.” E.g., Ex. 1 (’912 patent), 32:66-33:15 (“the circuit comprising a logic element

and a register . . . wherein the circuit further responds to a first command signal and the set of input

control signals from the computer system”); see also 34:33-48 (claim 15), 35:45-63 (claim 28), 36:48-59

(claim 39). As Samsung’s IPR expert concedes, a POSITA would understand that the function of a

“register” is to register the received control and address signals. Ex. 4 (Wolfe Decl. in IPR2022-00615)

at p. 74 (pointing to contemporaneous JEDEC standards “showing memory modules with registers

for registering the received control and address signals”) (emphasis added). The specification is

in accord. Ex. 1 (’912 patent), 5:31-36 (“The register 60 receives and buffers a plurality of control

signals, including address signals (e.g., bank address signals, row address signals, column address

signals, gated column address strobe signals, chip-select signals), and transmits corresponding signals

to the appropriate memory devices 30.”), 7:43-53, Fig. 1A (register 60 depicted as receiving signals




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including bank address signals BA0-BAm and address signals A0-An).

        Samsung also argues that the requirement that the “plurality of row/column address signals

received by the register are separate from a row address signal received by the logic element” affected

a substantive change. Dkt. 81 at 9. However, the original claims required the memory module to

receive a “command signal,” which Netlist and Google previously agreed means “a signal that initiates

a predetermined type of computer operation, such as read, write, refresh or precharge.” Dkt. 81-09 at

8. According to Samsung’s IPR petition, these commands would necessarily require a row address

signal as part of the command code. Ex. 3 (Samsung IPR Pet.) at 45-46 (arguing that per JEDEC

standard, “to perform a read or write operation, the JEDEC standard . . . first requires a Bank Activate

command with the row and bank address signals”) (emphasis added). It would also be understood

that the address signals received by the “register” and “logic element” are separate. See Figs 1A-1B

(depicting register as receiving A0-An, and logic element as receiving An+1).

                3.      The “logic element” Amendment

        Netlist also added language regarding the logic element’s operation to the claims, for example:

        wherein the logic element generates gated column access strobe (CAS) signals or chip-
        select signals of the output control signals in response at least in part to (i) the at least
        one row address signal, (ii) the bank address signals, and (iii) the at least one chip-select
        signal of the set of input control signals and (iv) the PLL clock signal.

Dkt. 81-01 at 49 (claim 1). Near identical additions were made to claims 15, 28, and 39. Id. The original

claims required a logic element that receives a “set of input control signals” and that the claimed circuit

comprising the logic element “generat[es] a set of output control signals in response to the set of input

control signals.” Ex. 1 (’912 patent), 32:66-33:12 (claim 1); see also id., 34:34-45 (claim 15), 35:45-58

(claim 28), 36:49-63 (claim 39). The original claims also required that the output control signals

“correspond[] to” or are “configured to control” the DDR memory devices. See, e.g., id., 33:12-14;

34:45-47; 35:59-62. In the context of DDR memory devices, such output control signals include chip-




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select signals to select the ranks of DDR memory devices for operation. See Ex. 3 (Samsung IPR Pet.)

at 29 (“A POSITA would have understood . . . that the chip-select signal was designed to select ranks”

of DDR memory devices); see also Ex. 1 (’912 patent), 36:66-37:4.

        Samsung argues that the amended claims now require the control signals be generated in

response to signals (i)-(iv). Dkt. 81 at 9-10. However, the original claims recited signals including (i)-

(iii) as part of the “input control signals.” See Ex. 1 (’912 patent), 33:1-33:16 (claim 1); 34:36-48 (claim

15); 35:48-50 (claim 28); 36:55-59 (claim 39). And as discussed above, according to Samsung, a

POSITA would understand that to generate chip-select signals, the logic element required a clock

signal from a PLL, i.e., signal (iv). Ex. 3 (Samsung IPR Pet) at 61; supra 6-7. The specification likewise

makes clear that the logic element receives signals (i)-(iv) and generates chip-select signals in response.

Ex. 1 (’912 patent), 6:55-63 (logic element of Figs. 1A and 1B “receives a set of input control signals,

which includes address signals (e.g., bank address signals, row address signals, column address signals,

gated column address strobe signals, chip-select signals) . . . . In response to the set of input control

signals, the logic element 40 generates a set of output control signals which includes address signals

and command signals”), 7:36-53; Figs. 1A-1B.

        Samsung also suggests that the logic element amendment was substantive because “Netlist

and the PTAB relied on this added functionality to distinguish the prior art during reexamination.”

Dkt. 81 at 10. The N.D. Cal. Court similarly placed emphasis on this fact. Dkt. 81-08 at 23-25

(emphasizing that the “added limitations were crucial to the allowance of the claim because they

overcome rejections based on Amidi and Dell-2”). But “[w]hen claims are amended during

reexamination following a rejection based on prior art, the claims are not deemed substantively

changed as a matter of law. There is no per se rule.” Laitram Corp. v. NEC Corp., 952 F.2d 1357, 1362-

63 (Fed. Cir. 1991). While relevant, the fact that this limitation was argued to overcome the prior art

is not dispositive, because if it were, virtually all amendments would trigger intervening rights. Kaufman



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Co., Inc. v. Lantech, Inc., 807 F.2d 970, 978 (Fed. Cir. 1986) (rejecting accused infringer’s argument that

“any amendment made during the reexamination proceeding is substantive and therefore

automatically entitles the infringer to an intervening right”).

        C.      Samsung’s Identification of Accused Products is Deficient

        Samsung’s proposed date of February 8, 2021 as the date on which absolute intervening rights

accrue is inconsistent with the language of pre-AIA § 316(a): “In inter partes reexamination proceeding

under this chapter, when the time for appeal has expired or any appeal proceeding has terminated,

the Director shall issue and publish a certificate [of reexamination].” Pre-AIA § 316(a) (emphasis

added). The Federal Circuit affirmance occurred on June 15, 2020. 810 F. App’x at 902. Only products

used or purchased prior to June 15, 2020 could be subject to intervening rights.

        Samsung has also not properly disclosed all the Accused Products.




                                                            MOSAID Techs. Inc. v. Micron Tech., Inc., 2008

WL 11344767, at *6 (E.D. Tex. Jan. 29, 2008) (defendants could “easily determine the extent of the

accused devices” based on identification of products by names that “the industry uses for the devices,

e.g. SDRAM, DDR, DDR2, DDR3….”).




                                                                                 Dkt. 81-07, ¶ 12.

VI.     CONCLUSION

        For the foregoing reasons, Samsung’s motion for partial summary judgment should be denied.



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Dated: July 6, 2023                 Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on all counsel of

record for Samsung through the Court’s CM/ECF system on July 6, 2023.

                                                  /s/ Jason Sheasby
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